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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

United States of America,                                Crim. No. 21-108(1) (PAM/TNL)

                            Plaintiff,

v.                                                                                ORDER

Derek Michael Chauvin,

                        Defendant.
        ___________________________________________________________

       Defendant Derek Chauvin filed a motion seeking discovery under Rule 6 of the

Rules Governing Section 2255 Proceedings for the United States District Courts. That

rule allows for a party to take discovery provided the Court finds that there is good cause.

Understanding the discovery request and why there is good cause supporting it requires

placing it in context, which requires discussing Mr. Chauvin’s § 2255 claims.

       Mr. Chauvin filed a § 2255 motion challenging his federal conviction. In the

briefing on this motion, he argued that his motion should be granted because he was

denied the effective assistance of counsel in two fundamental ways. First, his attorney,

Eric Nelson, failed to inform Mr. Chauvin that a Doctor William Schaetzel had contacted

Mr. Nelson and opined that Mr. Chauvin did not cause Mr. Floyd’s death.

Dr. Schaetzel’s opinion is that Mr. Floyd died due to a catecholamine crisis when his

paraganglioma secreted excessive levels of catecholamines. These excessive levels of

catecholamines led to Takotsubo’s myocarditis (a type of acute heart failure, or heart

attack), resulting in pulmonary edema and death. Dr. Schaetzel contacted Mr. Nelson in

April 2021, before Mr. Chauvin was indicted federally. So Mr. Chauvin’s first ground is
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a claim that Nelson provided ineffective assistance of counsel to Mr. Chauvin by failing

to consult with him on this issue.

       The second way Mr. Chauvin claims that Mr. Nelson was ineffective is related,

though independent. Dr. Schaetzel urged that samples preserved from Mr. Floyd be

tested for catecholamines and their metabolites, and that tissue sections of Mr. Floyd’s

heart be examined. These tests and examinations would support Dr. Schaetzel’s opinion

about what caused Mr. Floyd to die if high levels of catecholamines or their metabolites

were discovered, or if the heart tissue showed evidence of Takotsubo’s myocarditis.

Mr. Nelson never requested these tests. Mr. Chauvin’s second claim is thus not a failure-

to-consult claim, but a failure-to-test claim.

       Mr. Chauvin’s discovery motion seeks to have the tests performed that could

support Dr. Schaetzel’s opinion of how Mr. Floyd died. Mr. Chauvin seeks to test

various fluids from Mr. Floyd (vitreous fluid (also called aqueous humor), postmortem

femoral blood, antemortem blood, and urine) for the concentration of fractionated

catecholamines and metanephrine levels present.        Mr. Chauvin also seeks to have

Mr. Floyd’s heart tissue slides and photographs of Mr. Floyd’s heart examined to see if

they show evidence of Takotsubo’s myocarditis. In case the heart-tissue slides or their

information are no longer available for analysis, or in case what slides are available are

not sufficient to determine whether Takotsubo’s myocarditis occurred, Mr. Chauvin also

asks for access to the heart tissue blocks (heart tissue embedded in wax from which tissue

slides are prepared) and any preserved heart tissue so that new heart tissue slides can be

prepared. Mr. Chauvin notes that the autopsy report from the Hennepin County Medical

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Examiner’s Office (HCMEO) indicates that fluid from Mr. Floyd was “collected and

retained,” that “representative tissue biopsies are retained in formalin for microscopic

examination,” and that tissue slides from Mr. Floyd’s heart were prepared. (Docket

No. 564 (citing Docket No. 544-1).) And the Toxicology Report from NMS Labs shows

that tests were done on Mr. Floyd’s blood and urine, though not the tests that could

support Dr. Schaetzel’s opinion of Mr. Floyd’s death. (Id.) The autopsy report also

shows that antemortem blood was collected by HHC on 5-25-20.

      Given the significant nature of the criminal case that Mr. Chauvin was convicted

of, and given that the discovery that Mr. Chauvin seeks could support Dr. Schaetzel’s

opinion of how Mr. Floyd died, the Court finds that there is good cause to allow

Mr. Chauvin to take the discovery that he seeks. Accordingly, the Court GRANTS Mr.

Chauvin’s Motion (Docket No. 564):

      1. The defense shall be allowed to take discovery of any and all histology slides
         of Mr. Floyd’s heart, tissue samples of Mr. Floyd’s heart, tissue blocks
         containing heart tissue from Mr. Floyd, and recut sections of all autopsy tissue
         histology slides relating to Mr. Floyd’s heart, possessed by the Hennepin
         County Medical Examiner’s Office (HCMEO), or any entity that the HCMEO
         contracted with that has these materials;

      2. The defense shall be allowed to inspect, examine, and make copies of any
         photographs taken of Mr. Floyd’s heart; and

      3. The defense shall be allowed to take quantities of certain fluids—vitreous
         fluid/aqueous humor, postmortem blood (including serum and/or plasma),
         antemortem blood (including serum and/or plasma), and urine—sufficient to
         test the concentration of fractionated catecholamines and metanephrine levels
         present that are possessed by the HCMEO, any entity that the HCMEO
         contracted with that has these materials, HHC, and NMS Labs. And Mr.

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         Chauvin is authorized to test these fluids for the concentration of fractionated
         catecholamines and metanephrine levels.

Date: December 15, 2024                        s/Paul A. Magnuson
                                               Paul A. Magnuson
                                               United States District Court Judge




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